Case 3:17-cv-00121-JO-MSB Document 255-67 Filed 08/22/22 PageID.11349 Page 1 of 8




                 Exhibit 71
Case 3:17-cv-00121-JO-MSB Document 255-67 Filed 08/22/22 PageID.11350 Page 2 of 8




                                   Exhibit 71
                                    1149
Case 3:17-cv-00121-JO-MSB Document 255-67 Filed 08/22/22 PageID.11351 Page 3 of 8




                                   Exhibit 71
                                    1150
Case 3:17-cv-00121-JO-MSB Document 255-67 Filed 08/22/22 PageID.11352 Page 4 of 8




                                   Exhibit 71
                                    1151
Case 3:17-cv-00121-JO-MSB Document 255-67 Filed 08/22/22 PageID.11353 Page 5 of 8




                                   Exhibit 71
                                    1152
Case 3:17-cv-00121-JO-MSB Document 255-67 Filed 08/22/22 PageID.11354 Page 6 of 8




                                   Exhibit 71
                                    1153
Case 3:17-cv-00121-JO-MSB Document 255-67 Filed 08/22/22 PageID.11355 Page 7 of 8




                                   Exhibit 71
                                    1154
Case 3:17-cv-00121-JO-MSB Document 255-67 Filed 08/22/22 PageID.11356 Page 8 of 8




                                   Exhibit 71
                                    1155
